                                                                   August 11, 2016




                                 JUDGMENT

                 The Fourteenth Court of Appeals
       JACK N. MCCRARY AND SUZANNE F. MCCRARY, Appellants

NO. 14-15-00550-CV                      V.

   WILLIAM A. HIGHTOWER, UBS FINANCIAL SERVICES, INC., B.B.
   TULEY, BRIAN DAVIDSON D/B/A PANORAMIC INVESTIGATIONS,
                            Appellees
                ________________________________

       This cause, an appeal from the judgment in favor of appellees, William A.
Hightower, UBS Financial Services, Inc., B.B. Tuley, and Brian Davidson d/b/a
Panoramic Investigations, signed June 17, 2015, was heard on the transcript of the
record. We have inspected the record and find the trial court erred in rendering
summary judgment in favor of appellees William A. Hightower, B.B. Tuley, and
UBS Financial Services, Inc. We therefore order that the portions of the judgment
that grant summary judgment to William A. Hightower, B.B. Tuley, and UBS
Financial Services, Inc. are REVERSED and ordered severed and REMANDED
for proceedings in accordance with the court’s opinion.

      Further, we find no error in the remainder of the judgment rendering
summary judgment in favor of appellee Brian Davidson d/b/a Panoramic
Investigations and order it AFFIRMED.

      We order each party to pay its costs incurred by reason of this appeal.

      We further order this decision certified below for observance.
